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                                     UNITED STATES BANKRUPTCY COURT
                                    MIDDLE DISTRICT OF NORTH CAROLINA

IN RE:
   BARRY ONEIL GRAVES                                             CASE NO. 17-10274
   PO BOX 1314                                                    JUDGE BENJAMIN A. KAHN
   MEBANE, NC 27302

               DEBTOR

   SSN(1) XXX-XX-0687                                             DATE: 10/11/2017


                                             REPORT OF FILED CLAIMS

     Pursuant to 11 U.S.C. §704(5), the trustee has examined the proofs of claims filed in this case and objected to the
allowance of such claims as appeared to be improper except where no purpose would have been served by such
objection. After such examination and objections, if any, the trustee states that claims should be deemed allowed or “not
filed” as indicated below.

NAME & ADDRESS OF CREDITOR                                      AMOUNT      CLASSIFICATION
ABSOLUTE COLLECTION SVC                                           $0.00     (U) UNSECURED
421 FAYETTEVILLE ST STE 600                                  INT: .00%      NOT FILED
RALEIGH, NC 27601                                       NAME ID: 59368      ACCT: UNTS
                                                         CLAIM #: 0003      COMMENT:
ALAMANCE CO REGISTER OF DEEDS                                    $52.00     (Z) SPECIAL COST ITEM
P O BOX 837                                                   INT: .00%
GRAHAM, NC 27253                                          NAME ID: 1735     ACCT:
                                                          CLAIM #: 0031     COMMENT:
ALAMANCE COUNTY EMS                                               $0.00     (U) UNSECURED
P O BOX 29526                                                INT: .00%      NOT FILED
GREENSBORO, NC 27429                                    NAME ID: 69247      ACCT:
                                                         CLAIM #: 0004      COMMENT:
ALAMANCE COUNTY TAX                                                $2.12    (U) UNSECURED
124 W ELM STREET                                              INT: .00%
GRAHAM, NC 27253                                          NAME ID: 2794     ACCT: 0274
                                                          CLAIM #: 0029     COMMENT:
ALAMANCE EAR NOSE & THROAT LLP                                    $0.00     (U) UNSECURED
P O BOX 2                                                    INT: .00%      NOT FILED
BURLINGTON, NC 27216-0002                               NAME ID: 66832      ACCT: 1542
                                                         CLAIM #: 0005      COMMENT:
ALAMANCE REGIONAL MEDICAL CTR                                     $0.00     (U) UNSECURED
1240 HUFFMAN MILL RD                                         INT: .00%      NOT FILED
BURLINGTON, NC 27215                                    NAME ID: 23755      ACCT: 3158
                                                         CLAIM #: 0006      COMMENT:
APPLIED BANK                                                      $0.00     (U) UNSECURED
% CAPITAL MANAGEMENT SERVICES LP                             INT: .00%      NOT FILED
726 EXCHANGE ST STE 700                                NAME ID: 164489      ACCT: 1565
BUFFALO, NY 14210                                        CLAIM #: 0007      COMMENT:
AT&T                                                              $0.00     (U) UNSECURED
P O BOX 105503                                               INT: .00%      NOT FILED
ATLANTA, GA 30348-5503                                  NAME ID: 54076      ACCT: 1913
                                                         CLAIM #: 0008      COMMENT:
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NAME & ADDRESS OF CREDITOR                             AMOUNT      CLASSIFICATION
AT&T                                                     $0.00     (U) UNSECURED
P O BOX 105503                                      INT: .00%      NOT FILED
ATLANTA, GA 30348-5503                         NAME ID: 54076      ACCT: 1916
                                                CLAIM #: 0009      COMMENT:
BANK OF AMERICA                                          $0.00     (U) UNSECURED
P O BOX 25118                                       INT: .00%      NOT FILED
TAMPA, FL 33622                                NAME ID: 33421      ACCT: 3936
                                                CLAIM #: 0010      COMMENT:
BELLSOUTH                                                  $0.00   (U) UNSECURED
P O BOX 1262                                          INT: .00%    NOT FILED
CHARLOTTE, NC 28201                               NAME ID: 2537    ACCT: 1913
                                                  CLAIM #: 0011    COMMENT:
BULL CITY FINANCIAL SOLUTIONS                            $0.00     (U) UNSECURED
1107 W MAIN ST STE 201                              INT: .00%      NOT FILED
DURHAM, NC 27701                              NAME ID: 132946      ACCT:
                                                CLAIM #: 0012      COMMENT:
CITY OF GRAHAM                                           $0.00     (S) SECURED
P O DRAWER 357                                      INT: .00%      NOT FILED
GRAHAM, NC 27253                               NAME ID: 31589      ACCT:
                                                CLAIM #: 0001      COMMENT: OC
CRA COLLECTIONS                                          $0.00     (U) UNSECURED
P O BOX 2103                                        INT: .00%      NOT FILED
MECHANICSBURG, PA 17055-2103                   NAME ID: 57337      ACCT:
                                                CLAIM #: 0013      COMMENT:
CREDIT ACCEPTANCE CORPORATION                       $11,250.36     (U) UNSECURED
SILVER TRIANGLE BUILDING                            INT: .00%
25505 W TWELVE MILE RD STE 3000               NAME ID: 165318      ACCT: 9789
SOUTHFIELD, MI 48034-8339                       CLAIM #: 0030      COMMENT: OC,COD/LIF,717OR
CSDDUR                                                   $0.00     (U) UNSECURED
P O BOX 530                                         INT: .00%      NOT FILED
DURHAM, NC 27702-0530                         NAME ID: 132698      ACCT: UNTS
                                                CLAIM #: 0014      COMMENT:
DIRECTV                                                  $0.00     (U) UNSECURED
LA1/N367                                            INT: .00%      NOT FILED
2230 E IMPERIAL HWY                           NAME ID: 132699      ACCT: 4838
EL SEGUNDO, CA 90245                            CLAIM #: 0016      COMMENT:
EMPLOYMENT SECURITY COMMISSION                             $0.00   (U) UNSECURED
P O BOX 26504                                         INT: .00%    NOT FILED
RALEIGH, NC 27611-6504                            NAME ID: 5777    ACCT:
                                                  CLAIM #: 0027    COMMENT:
EQUIFAX INFORMATION SERVICES                             $0.00     (U) UNSECURED
P O BOX 740241                                      INT: .00%      NOT FILED
ATLANTA, GA 30374                             NAME ID: 157462      ACCT:
                                                CLAIM #: 0023      COMMENT:
EXPERIAN                                                 $0.00     (U) UNSECURED
P O BOX 2002                                        INT: .00%      NOT FILED
ALLEN, TX 75013                                NAME ID: 70333      ACCT:
                                                CLAIM #: 0024      COMMENT:
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NAME & ADDRESS OF CREDITOR                            AMOUNT       CLASSIFICATION
KERNODLE CLINIC                                         $0.00      (U) UNSECURED
P O BOX 1717                                       INT: .00%       NOT FILED
BURLINGTON, NC 27216                          NAME ID: 28369       ACCT: 7264
                                               CLAIM #: 0017       COMMENT:
MIDLAND MORTGAGE CO                                     $0.00      (U) UNSECURED
P O BOX 26648                                      INT: .00%       NOT FILED
OKLAHOMA CITY, OK 73126                       NAME ID: 37507       ACCT: 5011
                                               CLAIM #: 0018       COMMENT: COD
NC CHILD SUPPORT                                          $0.00    (U) UNSECURED
CENTRALIZED COLLECTIONS                              INT: .00%     NOT FILED
P O BOX 900006                                   NAME ID: 2930     ACCT:
RALEIGH, NC 27675-9006                           CLAIM #: 0025     COMMENT:
NIA WOODS                                               $0.00      (U) UNSECURED
1017 FRAZIER RD                                    INT: .00%       NOT FILED
MEBANE, NC 27302-7564                        NAME ID: 132703       ACCT:
                                               CLAIM #: 0026       COMMENT:
OPTIMA RECOVERY SERVICES                                $0.00      (U) UNSECURED
P O BOX 52968                                      INT: .00%       NOT FILED
KNOXVILLE, TN 37950-2968                      NAME ID: 40749       ACCT: 6823
                                               CLAIM #: 0019       COMMENT:
SHELLPOINT MORTGAGE SERVICING           MONTHLY PMT $324.91        (H) ONGOING-SECURED
ATTN MANAGING AGENT                               INT: .00%
P O BOX 10826                               NAME ID: 149757        ACCT: 9031
GREENVILLE, SC 29603-0826                     CLAIM #: 0002        COMMENT: DT RP,CTD,EFF W/JUL 2017
SHELLPOINT MORTGAGE SERVICING                      $10,703.55      (R) ARREARAGE-SECURED
ATTN MANAGING AGENT                                INT: .00%
P O BOX 10826                                NAME ID: 149757       ACCT: 9031
GREENVILLE, SC 29603-0826                      CLAIM #: 0032       COMMENT: ARR THRU JUN 2017,917OR
SPRINT                                                  $0.00      (U) UNSECURED
% RPM                                              INT: .00%       NOT FILED
P O BOX 768                                  NAME ID: 164490       ACCT: 6847
BOTHELL, WA 98041                              CLAIM #: 0020       COMMENT:
TIME WARNER CABLE                                       $0.00      (U) UNSECURED
P O BOX 40508                                      INT: .00%       NOT FILED
FAYETTEVILLE, NC 28309                       NAME ID: 132708       ACCT:
                                               CLAIM #: 0021       COMMENT:
TRANS UNION                                             $0.00      (U) UNSECURED
P O BOX 2000                                       INT: .00%       NOT FILED
CRUM LYNNE, PA 19022-2000                    NAME ID: 157479       ACCT:
                                               CLAIM #: 0028       COMMENT:
UNC HOSPITALS                                           $0.00      (U) UNSECURED
SUITE G21                                          INT: .00%       NOT FILED
211 FRIDAY CENTER DR                          NAME ID: 35869       ACCT: UNTS
CHAPEL HILL, NC 27517                          CLAIM #: 0022       COMMENT:
US DEPARTMENT OF EDUCATION                         $45,781.38      (U) UNSECURED
% NELNET                                           INT: .00%
P O BOX 740283                               NAME ID: 114934       ACCT: 0687
ATLANTA, GA 30374-0283                         CLAIM #: 0015       COMMENT:

TOTAL:                                                $68,114.32
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NAME & ADDRESS OF CREDITOR                        AMOUNT      CLASSIFICATION
JOHN T ORCUTT ESQ                                 $4,300.00   ATTORNEY FEE
6616-203 SIX FORKS ROAD
RALEIGH, NC 27615




                                                              ANITA JO KINLAW TROXLER
                                                              500 W FRIENDLY AVE STE 200
                                                              P O BOX 1720
                                                              GREENSBORO, NC 27402-1720
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                                NOTICE OF FILING OF REPORT OF FILED CLAIMS

    The foregoing Report of Filed Claims has been filed with the Bankruptcy Court based on an audit of claims filed in
the Trustee’s office. The claims are allowed unless objection is made by the Debtor or other party in interest.

    Any objection to a claim should be filed in writing with the Bankruptcy Court at the address below and a copy must
be served on the Trustee:

                                      Clerk, U.S. Bankruptcy Court
                                      101 S. Edgeworth Street
                                      P.O. Box 26100
                                      Greensboro, NC 27420-6100

    If an objection is filed, a hearing will be scheduled before the Court.       The Trustee will continue making
disbursements on the claims unless an objection is filed.




Date: 10/11/2017                                                      OFFICE OF THE CHAPTER 13 TRUSTEE

                                                                 By: /s/ Gayle McFarland
                                                                     Clerk
                                                                     Chapter 13 Office
                                                                     500 W FRIENDLY AVE STE 200
                                                                     P O BOX 1720
                                                                     GREENSBORO, NC 27402-1720

cc: Debtor
    Attorney for Debtor - Electronic Notice
